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                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                          THE WESTERN DISTRICT OF MISSOURI

In Re:
                                              )
INTERSTATE UNDERGROUND                        )
WAREHOUSE AND INDUSTRIAL                      )       Case No. 21-40834-DRD11
 PARK, INC.,                                  )
                                              )
                       Debtor.                )

   NOTICE OF ATTORNEYS’ FEES AND EXPENSES FOR THE MONTH OF FEBRUARY 2022

         Pursuant to Court’s Order of 11/22/21 granting Debtor’s Motion to Approve Procedures

 for Interim Compensation and Reimbursement of Professionals’ Fees, Debtor’s Counsel is

 required to provide monthly statements for 10-day review by the US Trustee, the secured

 creditors and any other parties listed on the ECF noticing system. If none of the reviewing

 parties object in writing within ten (10) days: (a) 100% of fees for services rendered by Krigel

 & Krigel, P.C. to Debtor may be paid, subject to a 20% holdback (which Krigel & Krigel, P.C.

 may apply for no more than once every 120 days); and (b) 100% of Krigel & Krigel, P.C.’s

 expenses may be paid. Notwithstanding, as set forth in the Order, all fees and expense paid are

 subject to approval at the time of Krigel & Krigel, P.C.’s final fee application.

         Accordingly, Debtor hereby files and serves on the US Trustee, the secured creditor and

 any other parties listed on the ECF noticing system, the monthly statements attached hereto as

 Exhibit A, which are summarized as follows:

                        SUMMARY
                                                                              20%         Tl Minus
         Services            Rate          Tl Hours       Tl Amount
                                                                            Holdback        20%
  Staff Fees                      $50              1.50           75.00           15.00        60.00
  Staff Fees                      $75             15.00        1,125.00          225.00       900.00
  Staff Fees                     $100             18.80        1,880.00          376.00     1,504.00
  Staff Fees                     $105              0.30           31.50            6.30        25.20
  Legal Fees EK                  $275             20.90        5,747.50        1,149.50     4,598.00
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  Legal Fees KR               $275                   4.00         1,100.00            220.00          880.00
  Legal Fees SK               $350                  46.05        16,117.50          3,223.50       12,894.00
                       TOTAL FEES                  125.30        26,076.50          5,215.30       20,861.20

                TOTAL EXPENSES                                    1,138.03

If no objections to the Statements are received on or before the Objection Deadline set forth

below, Debtor will pay to Krigel & Krigel, P.C. 100% of the fees, subject to the 20% Holdback

(as defined in the Motion to Pay Monthly) and 100% of the expenses identified in the Statements.

         Krigel & Krigel, P.C. respectfully requests and reserves the right to supplement this

 application with additional time descriptions or other material, as appropriate, after determining

 all questions, comments or objections from all parties.

               NOTICE FOR OBJECTIONS TO ATTORNEYS’ FEES AND EXPENSES

        Notice is given to creditors and parties in interest that they have until April 8, 2022, to file a
written objection to the Notice of Attorneys’ Fees and Expenses for February 2022. A copy of the
objection must be served on the Debtor’s counsel, the United States Trustee and on any parties registered
through the Court’s ECF system. Documents can be filed electronically at http://ecf.mowb.uscourts.gov.

         For information about- electronic filing, go to www.mow.uscourts.gov or call the Court’s HELP
line at 1-800-466-9302. Pro se parties shall mail filings to: United States Bankruptcy Court, Western
District of Missouri, 400 East 9th Street, Room 1510, Kansas City, MO 64106. Pursuant to 9013-1D,
responses shall address the merits of the objection and, if applicable, set out actions to remedy the
particular problem. If an objection is filed, the Court will schedule the objection for hearing. If no
objections are filed, the Debtor’s counsel may pay itself for the fees and expenses from funds on hand,
without further notice to creditors.
                                                           KRIGEL & KRIGEL, P.C.

                                                         /s/Erlene W. Krigel
                                                         Erlene W Krigel, MO Bar #29416
                                                         4520 Main Street Suite 700
                                                         Kansas City, Missouri 64111
                                                         TEL: (816) 756-5800
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                                                         ATTORNEY FOR DEBTOR
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                                    CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of March 2022, a true and correct copy of the Notice along
with the monthly statements were emailed or mailed to the US Trustee, the secured creditors Woodmen of
the World, C. Floyd Anderson, Optima LLC, Citizens Bank & Trust, Ford Motor Credit and to all other
parties in interest and creditors listed on the Court’s ECF noticing system.

                                /s/ Erlene W. Krigel
                                Erlene W. Krigel
